                                                               THIS ORDER IS APPROVED.


                                                               Dated: June 27, 2018



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                                                               Scott H. Gan, Bankruptcy Judge
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 7                      IN THE UNITED STATES BANKRUPTCY COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9   In Re:                                             Chapter 11
10   Arlene Silver and                                  Case No. 2:17-bk-07624-SHG
     Ronald J. Silver, husband and wife,
11
                                  Debtors.
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13        ORDER SHORTERNING NOTICE OF HEARING ON APPROVAL OF
        DISCLOSURE STATEMENT FOR DEBTOR’S FIRST AMENDED PLAN OF
14               REORGANIZATION AND NOTICE OF HEARING
15            This matter having come before the court on Debtors in Possession, Arlene Silver and
16   Ronald J. Silver’s Ex Parte Motion for Order Shortening Time to Notice hearing on approval
17   of the Debtors’ Disclosure Statement for First Amended Plan of Reorganization Dated June
18   8, 2018, and good cause appearing therefore,
19            IT IS HEREBY ORDERED that the notice of the deadline to object to the adequacy
20   of the Disclosure Statement is hereby shortened to fourteen (14) days.
21            IT IS FURTHER ORDERED that July 12, 2018 is the deadline to object to the
22   adequacy of the Disclosure Statement and July 19, 2018 at 2:00 p.m. is the date and time set
23   for hearing on approval of the Disclosure Statement. Debtors shall serve said Notice of
24   Hearing and a copy of this Order no later than June 28, 2018.
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                                    DATED AND SIGNED AS SET
27                                       FORTH ABOVE

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